       Case 1:22-cv-00329-BLW Document 97-1 Filed 09/07/22 Page 1 of 23




                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO


THE UNITED STATES OF AMERICA,                   Case No. 1:22-cv-00329-BLW

      Plaintiff,

v.

THE STATE OF IDAHO,

      Defendant,

and

SCOTT BEDKE, in his official capacity as
Speaker of the House of Representatives of
the State of Idaho; CHUCK WINDER, in his
capacity as President Pro Tempore of the
Idaho State Senate; and the SIXTY-SIXTH
IDAHO LEGISLATURE,

      Intervenor-Defendants.

                               ___________________________

                   IDAHO LEGISLATURE’S BRIEF IN SUPPORT OF
                   MOTION FOR RECONSIDERATION OF ORDER
                     GRANTING PRELIMINARY INJUNCTION
                               ___________________________

        Monte Neil Stewart, ISB No. 8129          Daniel W. Bower, ISB No. 7204
        11000 Cherwell Court                      MORRIS BOWER & HAWS PLLC
        Las Vegas, Nevada 89144                   1305 12th Ave. Rd.
        Telephone: (208)514-6360                  Nampa, Idaho 83686
        monteneilstewart@gmail.com                Telephone: (208) 345-3333
                                                  dbower@morrisbowerhaws.com

                            Attorneys for Intervenor-Defendants
            Case 1:22-cv-00329-BLW Document 97-1 Filed 09/07/22 Page 2 of 23




                                                 TABLE OF CONTENTS

     I.        This motion is procedurally proper and satisfies the standard of review ......1

     II.       The Idaho Order clearly erred by ignoring Congress’s language
               defining the scope of EMTALA and instead using the
               Administration’s materially different and misleading language ...................2

     III.      Serious legal and constitutional errors render the preliminary
               injunction clearly erroneous...........................................................................8

               A.         The Decision Contains Clear Errors of Law Under
                          State and Federal Statutes ...................................................................8

               B.         Granting a Preliminary Injunction for the United States
                          Commits Clear Errors of Constitutional Law .....................................9

                          1. As read by the Government, EMTALA violates
                             the major questions doctrine .......................................................10

                          2. The Supremacy Clause does not give the United States
                             an implied right of action ............................................................11

                          3. The Preliminary Injunction Exceeds the Court’s Powers
                             as an Inferior Court Under Article III .........................................12

                          4. The Court’s Decision sanctions an interpretation of
                             EMTALA that exceeds Congress’s authority under
                             the Spending Clause ....................................................................13

                          5. The Preliminary Injunction Trenches on Idaho’s
                             Reserved Power Under the Tenth Amendment ...........................15

CONCLUSION ........................................................................................................................16

CERTIFICATE OF SERVICE ................................................................................................17




                                                                    i
          Case 1:22-cv-00329-BLW Document 97-1 Filed 09/07/22 Page 3 of 23




                                     TABLE OF CASES AND AUTHORITIES

Cases:

Alabama Assoc. of Realtors v. Dep’t of Health and Human Servs.,
      141 S. Ct. 2485 (2021) ...........................................................................................10, 11

Armstrong v. Exceptional Child Ctr., Inc.,
      575 U.S. 320 (2015) ...............................................................................................11, 12

Borden v. United States,
      141 S. Ct. 1817 (2021) ...................................................................................................7

Dobbs v. Jackson Women’s Health Organization,
      142 S. Ct. 2228 (2022) .................................................................3, 4, 11, 12, 13, 15, 16

Favia v. Indiana Univ. of Pennsylvania,
       7 F.3d 332 (3d Cir. 1993)...............................................................................................1

Harrington v. City of Chicago,
      433 F.3d 542 (7th Cir. 2006) .........................................................................................8

Hayes v. Oregon,
       No. 1:20-CV-01332-CL, 2022 WL 488069 (D. Or. Feb. 17, 2022) ..............................1

Jean v. Nelson,
        472 U.S. 846 (1985) .....................................................................................................12

Katie A., ex rel. Ludin v. Los Angeles Cnty.,
       481 F.3d 1150, 1152 (9th Cir. 2007) .............................................................................1

Marbury v. Madison,
      5 U.S. 137 (1803) .........................................................................................................16

NFIB v. OSHA,
      142 S. Ct. 661 (2022) .......................................................................................10, 13, 15

Pennhurst State Sch. & Hosp. v. Halderman,
      451 U.S. 1 (1981) ...................................................................................................13, 15




                                                                   ii
           Case 1:22-cv-00329-BLW Document 97-1 Filed 09/07/22 Page 4 of 23




Planned Parenthood of Southeastern Penn. v. Casey,
      505 U.S. 833 (1992) ...................................................................................................4, 6

Pyramid Lake Paiute Tribe of Indians v. Hodel,
      882 F.2d 364 (9th Cir. 1989) .....................................................................................1, 2

Roe v. Wade,
       410 U.S. 113 (1973) ...................................................................................................4, 6

Sch. Dist. No. 1J, Multnomah Cnty., Or. v. ACandS, Inc.,
       5 F.3d 1255 (9th Cir. 1993) ...........................................................................................1

Texas v. Becerra,
       No. 5:22-CV-185-H, 2022 WL 3639525 (N.D. Tex. Aug. 23, 2022) ...............4, 5, 6, 7

Utility Air Regulatory Group v. EPA,
        573 U.S. 302 (2014) ...............................................................................................10, 11

W. Va. v. EPA,
       142 S. Ct. 2587 (2022) .................................................................................................10

Wholesaler Equity Dev. Corp. v. Bargreen,
      No. C20-1095RSM, 2021 WL 5648099 (W.D. Wash. Dec. 1, 2021) ...........................1

Wholesaler Equity Dev. Corp. v. Bargreen,
      No. 21-36010, 2021 WL 7443767 (9th Cir. Dec. 17, 2021) ..........................................1

Statutes:

28 U.S.C. § 1292(a)(1) ...............................................................................................................1

42 U.S.C. § 1395 ........................................................................................................................9

42 U.S.C. § 1395dd(b) .............................................................................................................11

42 U.S.C. § 1395dd(c)(2)(A) .................................................................................................3, 7

42 U.S.C. § 1395dd(e)(1)(A) .....................................................................................................2

42 U.S.C. §§ 1395dd(e)(1)(A)(i)-(iii) ......................................................................................15


                                                                      iii
           Case 1:22-cv-00329-BLW Document 97-1 Filed 09/07/22 Page 5 of 23




I.C. § 18-622 ......................................................................................3, 6, 7, 8, 9, 13, 14, 15, 16

I.C. §§ 18-622(2), (3) ...............................................................................................................15

Idaho Code § 18-622(3) .............................................................................................................8

Fed. R. Civ. P. 59(e) ..............................................................................................................1, 2

Other Authorities:

Affordable Care Act .................................................................................................................14

Exec. Order
       14076, 87 Fed. Reg. 42053, 42053 (July 13, 2022) .......................................................4

Social Security Act XVIII..........................................................................................................9

U.S. Const. art. I, § 8..........................................................................................................12, 13

Spending Clause...........................................................................................................13, 14, 15

Supremacy Clause ......................................................................................................2, 7, 11, 12

www.hhs.gov .............................................................................................................................4




                                                                      iv
        Case 1:22-cv-00329-BLW Document 97-1 Filed 09/07/22 Page 6 of 23




I.      This motion is procedurally proper and satisfies the standard of review.

        This motion is procedurally proper.
        When a district court enters an order granting preliminary injunctive relief, parties
        who take exception to its terms must either file a motion for reconsideration in the
        district court within ten days under Rule 59(e) [now 28 days], bring an interlocutory
        appeal from that order under 28 U.S.C.A. § 1292(a)(1), or wait until the preliminary
        injunction becomes final and then appeal.
Favia v. Indiana Univ. of Pennsylvania, 7 F.3d 332, 337–38 (3d Cir. 1993). Motions for

reconsideration of orders regarding preliminary injunctions are standard practice in the Ninth

Circuit, 1 see, e.g., Katie A., ex rel. Ludin v. Los Angeles Cnty., 481 F.3d 1150, 1152 (9th Cir. 2007)

(“We have jurisdiction to review the district court's order granting the preliminary injunction and

the court's denial of the motion for reconsideration under 28 U.S.C. § 1292(a)(1).”). A motion

under Rule 59(e) is timely if “filed no later than 28 days after the entry of the judgment.” Fed. R.

Civ. P. 59(e). This motion is timely since it follows less than 28 days after the August 24, 2022

entry of the Idaho Order.

        This motion satisfies the standard of review. Ninth Circuit precedent holds that

“[r]econsideration is appropriate if the district court . . . committed clear error or the initial decision

was manifestly unjust . . . .” Sch. Dist. No. 1J, Multnomah Cnty., Or. v. ACandS, Inc., 5 F.3d 1255,

1263 (9th Cir. 1993). “[A] trial court has discretion to reconsider its prior, non-final decisions.

‘[T]he major grounds that justify reconsideration involve . . . the need to correct a clear error or

prevent manifest injustice.’” Pyramid Lake Paiute Tribe of Indians v. Hodel, 882 F.2d 364, 369



1
 Here are some examples from just the past ten months: Hayes v. Oregon, No. 1:20-CV-01332-
CL, 2022 WL 488069, at *1 (D. Or. Feb. 17, 2022) (reviewing a motion to reconsider denial of a
preliminary injunction, stated that a “district court is permitted to reconsider and amend a previous
order pursuant to Federal Rule of Civil Procedure 59(e).”); Wholesaler Equity Dev. Corp. v.
Bargreen, No. C20-1095RSM, 2021 WL 5648099 (W.D. Wash. Dec. 1, 2021), appeal dismissed,
No. 21-36010, 2021 WL 7443767 (9th Cir. Dec. 17, 2021) (same).


                                                    1
        Case 1:22-cv-00329-BLW Document 97-1 Filed 09/07/22 Page 7 of 23




n.5 (9th Cir. 1989). 2 The following sections demonstrate that reconsideration and alteration of the

Idaho Order are necessary to correct a clear error and prevent manifest injustice.

II.    The Idaho Order clearly erred by ignoring Congress’s language defining the scope of
       EMTALA and instead using the Administration’s materially different and misleading
       language.

       In the August 22 hearing, Mr. Stewart spoke of Idaho having drawn its line regulating

abortion. Transcript of August 22, 2022 Hearing (“Transcript”) at 59. Mr. Netter in response said

that the United States had established a different “standard,” a different line, protecting abortions

in the context of emergency medical conditions. Id. at 69. His point was that where Idaho’s line

went beyond the United States’ line, there was a conflict creating a Supremacy Clause issue that

must be resolved in favor of the United States by issuing an injunction prohibiting State action in

the area of conflict defined by the two lines. Id.

       Mr. Netter, however, misspoke. The United States has not drawn a line, it has drawn two

lines. Congress drew one line, and the current administration (“Administration”), through its

Department of Justice (“DOJ”) and its Department of Health and Human Services (“DHHS”), has

(since and in response to June 24) drawn a different line. A materially different line.

       Congress’s line and the Administration’s newly minted line diverge at subpart (i) of

EMTALA’s definition of “emergency medical condition.” 42 U.S.C. § 1395dd(e)(1)(A) says in

relevant part:

                (1) The term “emergency medical condition” means—(A) a medical
       condition manifesting itself by acute symptoms of sufficient severity (including
       severe pain) such that the absence of immediate medical attention could reasonably
       be expected to result in—(i) placing the health of the individual (or, with respect to
       a pregnant woman, the health of the woman or her unborn child) in serious jeopardy
       . . . .”

42 U.S.C. § 1395dd(e)(1)(A) (emphasis added).




                                                     2
        Case 1:22-cv-00329-BLW Document 97-1 Filed 09/07/22 Page 8 of 23




       As this language reveals, Congress drew its line to protect both the mother and the unborn

child in an emergency medical situation. By contrast, the Administration draws its line to eliminate

all protection for the unborn child in such situations. It did so by a simple expedient—it silently

erased “or her unborn child” from all DOJ filings here (including in its Proposed Order, Dkt. 17-

2, which this Court used word-for-word in the Idaho Order at 38-39) and from all DHHS Guidance

and other communications.

       In the August 22 hearing, this was the Legislature’s thrice-iterated “most important point.”

Transcript at 60, 62. The Government’s Proposed Order, with its inclusion of the altered subpart

(i) language, was seeking to enjoin State action where there was no conflict between federal law

and state law. This matters because this Court’s “authority extends to the boundary of the conflict

and no further. You can enjoin 622 to the extent of a conflict …. But that’s the limit of your

authority to enjoin enforcement and operation of 622.” Id. at 61. Moreover, and distressingly, the

DOJ was erasing Congressional language expressly written to protect the health of preborn

children in order to expand the injunction’s scope and, thereby, greatly increase the risk of death

for such children. That purpose squarely contradicts EMTALA’s clear language and Congress’s

evident intent that “the health of . . . the unborn child” not be put “in serious jeopardy.” 42 U.S.C.

§ 1395dd(c)(2)(A).

       Mr. Stewart went on to note correctly that this alteration, this erasure, of Congressional

language was done in an effort to fulfill at least in part the Administration’s “political promise to

push back against Dobbs.” Id. at 62. That political promise was made so publicly and so soon after

Dobbs that everyone in the courtroom knew what Mr. Stewart was referring to. 3 Soon after Dobbs


3
 Describing the Supreme Court’s decision in Dobbs as the cause of a nationwide “health crisis,”
President Biden responded with an executive order directing HHS to “consider[ ] updates to


                                                  3
        Case 1:22-cv-00329-BLW Document 97-1 Filed 09/07/22 Page 9 of 23




overruled the Roe/Casey abortion regime and returned to the respective States and their people

their constitutional authority to regulate abortion, the Administration publicly announced that the

federal executive branch, across all its departments, would use whatever means it could grasp in

an effort both to thwart the Dobbs decision and to attempt to resurrect to the greatest extent possible

the nationwide Roe/Casey abortion regime. That was the political promise, with this civil action

being one effort to fulfill it—or, more accurately, to create the appearance of fulfilling it. 4

       During the August 22 hearing, the Legislature’s counsel sought to share not just the

uncensored EMTALA language but also a “blue-line” of the Government’s Proposed Order that

limited its scope to the scope of the real conflict (defined by Congressional language), rather than

the scope of the manufactured conflict (defined by the altered subpart (i) language). Transcript at

62-63. The Court declined to look at the “blue-line,” suggesting it could be filed post-hearing. Id.

at 65. The Legislature did file it following the hearing, later that same day. Dkt. 93.

       Then on August 23, the United States District Court for the Northern District of Texas

issued its Decision and Order making the same thrice-iterated “most important” point. Texas v.

Becerra, No. 5:22-CV-185-H, 2022 WL 3639525 (N.D. Tex. Aug. 23, 2022) (“Texas Decision”).

This Court had the Texas Decision in hand on August 24, Dkt. 94-1, although the later-filed Idaho

Order makes no reference to it.


current guidance on obligations specific to emergency conditions and stabilizing care under
[EMTALA].” Exec. Order 14076, 87 Fed. Reg. 42053, 42053 (July 13, 2022). HHS promptly
obliged. A few days later, it issued “clarifying guidance” under EMTALA, along with Secretary
Becerra’s statement that the statute “preempts state law restricting access to abortion in emergency
situations.” https://www.hhs.gov/about/news/2022/ 07/11/following-president-bidens-executive-
order-protect-access-reproductive-health-care-hhs-announces-guidance-clarify-that-emergency-
medical-care-includes-abortion-services.html. This case is nothing more or less than
Administration policy operationalized as high-stakes litigation against the State of Idaho.
4
  We say “create the appearance” because, according to our research, at its broadest the
Government’s case affects a category of abortions that, under the Roe/Casey regime, accounted
for less than 2% of all Idaho abortions.
                                                   4
       Case 1:22-cv-00329-BLW Document 97-1 Filed 09/07/22 Page 10 of 23




       Regarding the Legislature’s “most important” point, the Texas Decision first detailed the

context and making of the political promise and the scope of efforts to fulfill it, including the

DHHS Guidance, id. at 6–9, and this Idaho civil action, id. at 37. (All Texas Decision page

references are to the version filed in this civil action as Document 94-1.)

       That Decision then addresses the uncensored language of subpart (i), which created

“EMTALA’s equal obligations to the pregnant woman and her unborn child” but also “create[d] a

potential conflict in duties that [EMTALA] does not resolve,” id. at 42, specifically, what do

doctors do “where emergency medical conditions threaten the health of both the pregnant woman

and the unborn child”? Id. at 43.

       After thorough analysis of the relevant statutory and case law bearing on “the obligations

of doctors in cases of conflict between the health of a pregnant woman and her unborn child,” the

Texas court concluded that “there is no direct conflict between EMTALA and state laws that

attempt to address that circumstance.” Id. at 44. There is no “impossibility” preemption, id. at 45–

46, and no “obstacle” preemption, id. at 46–49. Because EMTALA simply “does not resolve how

stabilizing treatments must be provided when a doctor’s duties to a pregnant woman and her

unborn child possibly conflict,” id. at 49, “EMTALA leaves [that resolution] to the states.” Id.

       The Texas Decision utterly rejects the government’s attempt to use EMTALA as a wedge

to leverage federal control over state abortion laws. That Decision repudiates the government’s

theory of preemption: since “EMTALA leaves unresolved the conflict between emergency medical

conditions that threaten the health of both the pregnant woman and the unborn child—and

therefore . . . does not preempt state law filling that void—it becomes clear the Guidance [and the

identically worded Proposed Order] goes beyond the language of” EMTALA. Id. This is because

the Administration’s “erasure” scheme requires (DHHS’s Guidance) or allows (DOJ’s Proposed



                                                 5
         Case 1:22-cv-00329-BLW Document 97-1 Filed 09/07/22 Page 11 of 23




Order) “physicians to perform abortions when they believe that an abortion would resolve a

pregnant woman's emergency medical condition irrespective of the unborn child’s health and

contrary state law.” Id. Thus, the Administration’s scheme of omitting statutory language

specifically requiring medical care to protect a preborn child “stands contrary to” EMTALA. Id.

at 50.

         The Texas Decision concludes with well-deserved criticism of the Administration’s

“erasure” scheme—its “conspicuous omission of the reference to the health of the ‘unborn child.’”

Id. Rightly, the Decision found the Administration’s distortion of plain statutory language

indefensible—especially as a political maneuver to repurpose EMTALA as a kind of Roe/Casey

Restoration Act. Id. at 49–52. Because EMTALA “expresses explicit concern for the unborn

child,” id. at 52, “[t]his concern is critical to understanding how the statute [EMTALA] approaches

abortion—if at all.” Id.

                 In such a case, the Court [along with, by this point, every other good-faith
         reader] finds it difficult to square a statute that instructs physicians to provide care
         for both the pregnant woman and the unborn child with [preliminary injunction
         language] excluding the health of the unborn child as a consideration when
         providing care for a mother. If there ever were a time to include the full definition
         of an emergency medical condition, the abortion context would be it.

         By adopting wholesale the Government’s Proposed Order with its altered subpart (i)

language, the Idaho Order at 38-39 stepped beyond the bounds of EMTALA and thereby stepped

beyond the bounds of any real conflict between federal law (Congress’s law, not the

Administration’s clumsy counterfeit) and Idaho’s 622 Statute. That in turn means that the Idaho

Order at 38-39 steps beyond this Court’s lawful authority. See Transcript at 61 (a district court’s

“authority extends to the boundary of the conflict and no further”). The United States Supreme

Court has made the same point, forcefully:




                                                    6
       Case 1:22-cv-00329-BLW Document 97-1 Filed 09/07/22 Page 12 of 23




       Simply put, where enforcement of a law would conflict with the Constitution, a
       court has authority under the Supremacy Clause to enjoin enforcement, but a court
       cannot, consistent with separation of powers, enjoin enforcement of a statute where
       enforcement would be lawful.

Borden v. United States, 141 S. Ct. 1817, 1836 (2021) (emphasis added).

       This binding law means that a preliminary injunction should not affect the enforcement of

the 622 Statute except insofar as EMTALA requires it. Therein lies the rub. By crediting the

Government’s misinterpretation of EMTALA—built on a deliberate omission of language

requiring the protection of a pregnant woman’s unborn child—this Court’s preliminary injunction

purports to enjoin the 622 Statute where the language of EMTALA does not apply.

       We, therefore, urge the Court to amend pages 38 and 39 of the Idaho Order in keeping with

the “blue-line” submitted by the Legislature. That “blue-line” document takes out the

Government’s altered subpart (i) language, while leaving in the subpart (ii) and subpart (iii)

language. Idaho’s 622 Statute on its face (although not in application) is different from the Texas

statute addressed in the Texas Decision relative to those two subparts.

       Modifying the preliminary injunction in this way is literally a life-and-death matter. Some

of Idaho’s preborn children may well die as a consequence of the Idaho Order as now written—

children whose lives Idaho’s 622 Statute protects properly and constitutionally. If the 622 Statute

is to be enjoined at all, the Idaho Order should conform with the actual language of EMTALA—

not a version partially erased to serve the Administration’s political purposes. Remember that

EMTALA clearly requires that the health of the unborn child not be put “in serious jeopardy,” 42

U.S.C. § 1395dd(c)(2)(A), let alone in that ultimate jeopardy created by the Administration’s

“erasure” scheme.




                                                7
       Case 1:22-cv-00329-BLW Document 97-1 Filed 09/07/22 Page 13 of 23




III.   Serious legal and constitutional errors render the preliminary injunction clearly
       erroneous.

       A motion for reconsideration should be granted when the judgment rests on a clear error

of law. See Harrington v. City of Chicago, 433 F.3d 542 (7th Cir. 2006) (altering or amending a

judgment is permitted when there has been a manifest error of law). Here, the decision granting a

preliminary injunction to the United States relies on a misstatement of Idaho law and an omission

of federal law. Even more critically, the decision does not address multiple legal and constitutional

errors that the State and Legislature brought to the Court’s attention. For those reasons, the

preliminary injunction should be vacated.

       A. The Decision Contains Clear Errors of Law Under State and Federal Statutes.

       The Court’s analysis relies on a misstatement of Idaho law. When explaining why the

affirmative defenses in Idaho Code § 18-622 did not “cure” the impossibility of complying with

both Idaho law and EMTALA, the district court criticized those defenses. Decision at *8. “The

affirmative defense admits that the physician committed a crime but asserts that the crime was

justified and is therefore legally blameless. And it can only be raised after the physician has already

faced indictment, arrest, pretrial detention, and trial for every abortion they perform.” Id. (citation

omitted). Not so. Idaho has not adopted the draconian scheme that the Court has described. Section

622 plainly says that the life of the mother, rape, and incest are “affirmative defense[s] to

prosecution.” Idaho Code § 18-622(3) (emphasis added). No physician faces the gantlet of criminal

prosecution, so long as he or she performs an abortion under the circumstances provided for by

statute. Because the Court’s analysis of the central issue of preemption turns on an incorrect

rendition of section 622, the preliminary injunction stands on a clear error of law.

       The decision likewise goes awry by neglecting to address a federal statute that expressly

limits EMTALA’s preemptive force, even though the decision squarely relies on preemption as


                                                  8
       Case 1:22-cv-00329-BLW Document 97-1 Filed 09/07/22 Page 14 of 23




the reason for enjoining the 622 Statute. See Decision at *18–26 (discussing impossibility and

obstacle preemption). That provision says that “[n]othing in this subchapter shall be construed to

authorize any Federal officer or employee to exercise any supervision or control over the practice

of medicine or the manner in which medical services are provided … or to exercise any supervision

or control over the administration or operation of any such institution, agency, or person.” 42

U.S.C. § 1395 (emphasis added). This directive not to preempt state law is controlling because

EMTALA falls within subchapter XVIII of the Social Security Act. Since the Court’s analysis did

not address section 1395, or its effect on the government’s preemption claims, that too is a clear

error of law that calls for the preliminary injunction to be vacated.

       B. Granting a Preliminary Injunction for the United States Commits Clear Errors of
          Constitutional Law.

       Mistakes of statutory interpretation are surely enough to warrant reconsideration. But it is

the multiple constitutional errors raised by the case brought by the United States that make

reconsideration especially urgent. Although the State and the Legislature presented serious

constitutional objections to the Government’s case, the Court declined to address them. The State

argued that the government’s interpretation of EMTALA renders the statute “invalid as coercive

spending clause legislation.” United States v. State of Idaho, No. 1:22-cv-00329-BLW, 2022 WL

3692618, at *6 (D. Idaho Aug. 24, 2022) (Decision). But that objection was brushed aside as “not

sufficiently developed,” to which the Court added the inapplicable rule that “courts should [not]

anticipate a question of constitutional law in advance of the necessity of deciding it.” Id. (quotation

omitted). For its part, the Legislature submitted substantial constitutional objections in a

memorandum attached to its Motion for Leave to File Legal Arguments, but the Court denied the

Motion and declined to address those objections. Docket Entry Order, Doc. 75. These rulings




                                                  9
       Case 1:22-cv-00329-BLW Document 97-1 Filed 09/07/22 Page 15 of 23




effectively denied the State and the Legislature any hearing on their constitutional objections to

the complaint. We respectfully ask the Court to consider those objections now.

           1.   As read by the government, EMTALA violates the major questions doctrine.

       Under the major questions doctrine courts “expect Congress to speak clearly if it wishes to

assign to an agency decisions of vast economic and political significance.” Utility Air Regulatory

Group v. EPA, 573 U.S. 302, 324 (2014). When this rule applies, “something more than a merely

plausible textual basis for the agency action is necessary.” Id. at 2609. Requiring an unusually

clear delegation of congressional authority over a matter of national significance reflects the

nondelegation doctrine, which preserves the separation of powers by ensuring that “any new laws

governing the lives of Americans are subject to the robust democratic processes the Constitution

demands.” NFIB v. OSHA, 142 S. Ct. 661, 669 (2022) (Gorsuch, J., concurring). In this way, the

major question doctrine resolves the problem of “agencies asserting highly consequential power

beyond what Congress could reasonably be understood to have granted.” W. Va. v. EPA, 142 S.

Ct. 2587, 2609 (2022). Three times in the past year alone, the Supreme Court has invoked the

major questions doctrine as sufficient reason to declare certain Administration initiatives

unconstitutional. Id. at 2616 (invalidating an EPA rule because “[a] decision of such magnitude

and consequence rests with Congress itself, or an agency acting pursuant to a clear delegation from

that representative body”); NFIB v. OSHA, 142 S. Ct. 661, 666 (2022) (setting aside an OSHA

standard requiring large employers to ensure that their employees were vaccinated against

COVID-19); Alabama Assoc. of Realtors v. Dep’t of Health and Human Servs., 141 S. Ct. 2485

(2021) (voiding a nationwide eviction moratorium imposed by the Centers for Disease Control).

       The Idaho Order sanctions a violation of the major questions doctrine by deferring to an

executive branch interpretation of EMTALA that inaugurates unprecedented authority over a

matter of grave political importance, without express congressional approval. The United States

                                                10
       Case 1:22-cv-00329-BLW Document 97-1 Filed 09/07/22 Page 16 of 23




asserts that federal law precludes Idaho from regulating abortion insofar as it qualifies (in the

government’s view) as needed “stabilizing treatment” for a pregnant woman at a federally funded

emergency center. Decision at *2. But exerting federal control over state abortion law is

indisputably a matter of “vast … political significance.” Utility Air Regulatory Group, 573 U.S. at

324. It takes “more than a merely plausible textual basis” to justify a federal assault on the

constitutional authority that Idaho possesses under Dobbs. Id. at 2609. The United States must

show that Congress has spoken with unusual clarity in requiring emergency rooms to perform

abortion procedures even when unnecessary to save a mother’s life. And that the United States has

failed to do. EMTALA’s glancing reference to “[n]ecessary stabilizing treatment” hardly speaks

with the requisite clarity to the issue of abortion procedures, given the prospect of upending Idaho

law on a question of enormous public significance. 42 U.S.C. § 1395dd(b). Like the CDC’s

eviction moratorium, the government’s weaponization of EMTALA grants the government “a

breathtaking amount of authority,” Ala. Assoc. of Realtors, 141 S. Ct. at 2489, by imposing a

nationwide abortion mandate through an unreasonable interpretation of a narrow statute.

           2. The Supremacy Clause does not give the United States an implied right of action.

       As described more fully in an amicus brief filed by 17 states, the Supremacy Clause does

not contain the implied right of action on which this case rests. In another case against the State of

Idaho, the U.S. Supreme Court held that providers of residential habilitation services could not

bring a suit under the Supremacy Clause challenging the disparity between Idaho’s Medicaid

reimbursement rates and the supposed requirements of the Medicaid Act. Armstrong v.

Exceptional Child Ctr., Inc., 575 U.S. 320, 324–25 (2015). Such a suit was barred, the Court

explained, because the Supremacy Clause “creates a rule of decision,” but not “any federal rights”

or “a cause of action.” Id. at 324–25. Rather, the Clause “instructs courts what to do when state

and federal law clash, but is silent regarding who may enforce federal laws in court, and in what

                                                 11
       Case 1:22-cv-00329-BLW Document 97-1 Filed 09/07/22 Page 17 of 23




circumstances they may do so.” Id. at 325. Armstrong thus directly forecloses the United States

from bringing a lawsuit against the State of Idaho directly under the Supremacy Clause.

       Its decision highlights this Court’s view that “the Supremacy Clause says state law must

yield to federal law when it’s impossible to comply with both. And that’s all this case is about.”

Decision at *1 (emphasis added). But the Court does not grapple with how Armstrong precludes

this case. The United States is not “an individual” seeking an injunction to prevent a state

regulation from overriding federal immunity. Id. at *6 (quoting Armstrong, 575 U.S. at 326). Nor

does it matter that the United States is “challenging the validity” of Idaho law. Id. Armstrong stands

for the broad principle that the Supremacy Clause nowhere “give[s] affected parties a

constitutional (and hence congressionally unalterable) right to enforce federal laws against the

States.” 575 U.S. at 325. On that point, the United States stands in no better position than a private

party. Since Armstrong bars exactly the kind of claim brought by the Government here, the

preliminary injunction rests on another clear error of law.

           3. The Preliminary Injunction Exceeds the Court’s Powers as an Inferior Court Under
              Article III.

       By issuing its preliminary injunction, the Court has exceeded its power as an inferior

tribunal. Article III vests “the judicial power of the United States” in “one supreme Court.” U.S.

Const. art. III, § 1. The resulting judicial hierarchy makes U.S. Supreme Court precedents binding

on this Court. Jean v. Nelson, 472 U.S. 846 (1985) (“this Court’s judgments are precedents binding

on the lower courts”). Only weeks ago, the U.S. Supreme Court issued a historic decision

overruling 50 years of its own precedents holding that abortion is a federal constitutional right.

Dobbs v. Jackson Women’s Health Organization, 142 S. Ct. 2228, 2284 (2022). Dobbs specifically

held that eliminating a federal right to abortion would result in the return of regulatory authority

concerning abortion “to the people and their elected representatives.” Id. Despite Dobbs, the Idaho


                                                 12
       Case 1:22-cv-00329-BLW Document 97-1 Filed 09/07/22 Page 18 of 23




Order blocks the State of Idaho from exercising that authority by enjoining the 622 Statute. Since

this Court’s order does not explain how a statutory interpretation can impede the transfer of

constitutional authority pronounced in Dobbs, that decision is in error.

           4. The Court’s Decision sanctions an interpretation of EMTALA that exceeds
              Congress’s authority under the Spending Clause.

       The State fairly briefed the Court on its concern that the Government’s interpretation of

EMTALA violates the Spending Clause. That is the Clause granting Congress the power “to pay

the Debts and provide for the … general Welfare of the United States.” U.S. Const. art. I, § 8. To

guard against allowing that power to obliterate the fundamental distinction between federal and

state powers, the Constitution places “limits on Congress’s power … to secure state compliance

with federal objectives.” NFIB v. Sebelius, 567 U.S. 519, 576 (2012). For instance, when

“conditions take the form of threats to terminate other significant independent grants, the

conditions are properly viewed as a means of pressuring the States to accept policy changes.” Id.

at 580. Federal strings may attach to federal dollars, but “the States must have a genuine choice

whether to accept the offer.” Id. at 588. Also, retroactive conditions on federal funding are

disallowed. Pennhurst State Sch. & Hosp. v. Halderman, 451 U.S. 1, 25 (1981) (“Though

Congress’ power to legislate under the spending power is broad, it does not include surprising the

States with post-acceptance or ‘retroactive’ conditions.”). Both limits are transgressed here.

       First, the United States threatens to withhold all Medicare funding unless Idaho complies

with the Government’s novel abortion mandate under EMTALA. That threat is evident from an

insistence that “a hospital participating in Medicare must comply with EMTALA as a condition

of receiving federal funds” and that “hospitals enter into written agreements with the [HHS]

Secretary confirming they will comply with EMTALA.” Mem. in Supp. of Mot. for a Prelim. Inj.,

United States v. State of Idaho, No. 1:22-cv-329-BLW, at 5 (S.D. Idaho Aug. 8, 2022) (“Mem.”)


                                                13
       Case 1:22-cv-00329-BLW Document 97-1 Filed 09/07/22 Page 19 of 23




(emphasis added). The United States insists that EMTALA imposes duties for “all patients, not

just for Medicare beneficiaries.” Id. at 19. This expansive reading of EMTALA leads to a sweeping

outcome. Because Idaho Code § 18-622 governs all abortions performed in the state, the

Government says, state law will “disrupt the [Medicare] program and deprive the United States of

the benefit of its bargain by prohibiting Idaho hospitals from performing EMTALA-mandated

services, notwithstanding that hospitals’ receipt of Medicare funds is conditioned on them doing

so.” Id. On the Government’s view, EMTALA requires Idaho hospitals to perform abortion

procedures whenever the Government says so, and noncompliance may result in the loss of all

Medicare funds.

       Those funds are considerable. By the Government’s own estimate, between 2018–20,

Idaho’s hospitals received $3.4 billion in Medicare funds and the state’s 39 emergency centers

received $74 million in federal funding—all of which was “conditioned on compliance with

EMTALA.” Id. at 6. Framed in these terms, the threatened loss of federal funding is not limited to

support for abortion-related emergency care or abortion-related emergency care for Medicare

beneficiaries. As the Government would have it, compliance with EMTALA embraces all

Medicare-funded emergency centers and all patients—not only Medicare recipients. Id. at 6. Its

memorandum lays out the case for denying Idaho hospitals funding under the Medicare program,

solely because of its dispute with perceived noncompliance as to a single medical procedure

governed by Idaho law and available at only 39 of 52 Medicare-certified hospitals. Id.

        Threatening to withhold all Medicare-related funding for hospitals in Idaho unless

emergency centers comply with an expansive interpretation of EMTALA exceeds the

Government’s authority under the Spending Clause. Consider a parallel threat in the original

Affordable Care Act. There, states complained that “Congress [was] coercing the States to adopt



                                               14
       Case 1:22-cv-00329-BLW Document 97-1 Filed 09/07/22 Page 20 of 23




the changes it wants by threatening to withhold all of a State’s Medicaid grants, unless the State

accepts the new expanded funding and complies with the conditions that come with it.” NFIB, 567

U.S. at 575. Agreeing with that objection, the Court held that this provision of ACA amounted to

“economic dragooning that leaves the States with no real option but to acquiesce in the Medicaid

expansion.” Id. at 582 (footnote omitted). Likewise here. The Government’s threat to withhold all

federal funding to any emergency center found to violate EMTALA is not a policy nudge—but “a

gun to the head.” NFIB, 567 U.S. at 581.

       Second, the United States has sprung this abortion mandate under EMTALA on Idaho long

after it agreed to other conditions of participating in Medicare. Trying to impose its abortion

mandate on Idaho hospitals retroactively is an independent reason for concluding that the

Government is exceeding its powers under the Spending Clause. Pennhurst, 451 U.S. at 25.

           5. The Preliminary Injunction Trenches on Idaho’s Reserved Power Under the Tenth
              Amendment.

       The preliminary injunction violates the State of Idaho’s reserved power to regulate

abortion. Dobbs held that that authority now belongs “to the people and their elected

representatives.” 142 S. Ct. at 2284. There can be no reasonable dispute that Idaho possesses the

authority to regulate abortion as a matter of federal constitutional law. But the preliminary

injunction will thwart the return of authority prescribed by Dobbs. Specifically, the injunction

prevents Idaho from carrying out sections 622(2) and (3), to the extent that those provisions collide

with provisions under EMTALA that protect a pregnant woman’s health from “serious jeopardy,”

pose a “serious impairment to [her] bodily functions,” or threaten to cause a “serious dysfunction

of any bodily organ or part.” Decision at *15 (quoting 42 U.S.C. §§ 1395dd(e)(1)(A)(i)-(iii)). This

order overrides the political, practical, and moral judgment of Idaho lawmakers to protect both

mother and child by permitting abortion when necessary to save the mother’s life and to allow


                                                 15
       Case 1:22-cv-00329-BLW Document 97-1 Filed 09/07/22 Page 21 of 23




abortion to terminate a pregnancy resulting from rape or incest, but not otherwise. Idaho Code §

18-622.

       Even if the United States could point to unambiguous statutory authority for its attempted

blockade of Idaho law, EMTALA is a garden-variety statute that must give way to the Constitution

insofar as they conflict. Marbury v. Madison, 5 U.S. 137, 177 (1803) (the constitution controls any

legislative act repugnant to it.”). Under that principle, the Supreme Court’s final judgment in

Dobbs must prevail over conflicting federal statutes. While EMTALA remains valid to the extent

that it prescribes certain forms of medical care by institutions participating in Medicare and

Medicaid, it cannot be read as the Idaho Order says. The people of Idaho enjoy constitutional

authority to govern themselves with respect to abortion, and no federal statute, however overread

by an Administration committed to countering Dobbs, can lawfully diminish that authority.

                                         CONCLUSION

       For all these reasons, the Court should either modify its August 24 Order to reflect the blue-

line document submitted by the Legislature or vacate that Order in its entirety.

Dated this 7th day of September, 2022.

                                              /s/ Daniel W. Bower
                                              Daniel W. Bower
                                              MORRIS BOWER & HAWS, PLLC



                                              /s/ Monte Neil Stewart
                                              Monte Neil Stewart

                                              Attorneys for Intervenor-Respondents




                                                16
       Case 1:22-cv-00329-BLW Document 97-1 Filed 09/07/22 Page 22 of 23




                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 7th day of September, 2022, I electronically filed the
foregoing with the Clerk of the Court via the CM/ECF system, which caused the following parties
or counsel to be served by electronic means, as more fully reflected on the Notice of Electronic
Filing:

BRIAN DAVID NETTER                              Brian V Church
DOJ-Civ                                         Dayton Patrick Reed
Civil Division                                  Ingrid C Batey
brian.netter@usdoj.gov                          Megan Ann Larrondo
                                                Steven Lamar Olsen
DANIEL SCHWEI                                   Office of the Attorney General
DOJ-Civ                                         brian.church@ag.idaho.gov
Federal Programs Branch                         dayton.reed@ag.idaho.gov
daniel.s.schwei@usdoj.gov                       ingrid.batey@ag.idaho.gov
                                                megan.larrondo@ag.idaho.gov
JULIE STRAUS HARRIS                             steven.olsen@ag.idaho.gov
DOJ-Civ Civil Division,
Federal Programs Branch                         JOAN E. CALLAHAN, ISB #9241
julie.strausharris@usdoj.gov                    NAYLOR & HALES, P.C.
                                                Special Deputy Attorney General
LISA NEWMAN                                     joan@naylorhales.com
DOJ-Civ Civil Division,
Federal Programs Branch                         Attorneys for Defendant
lisa.n.newman@usdoj.gov
                                                JAY ALAN SEKULOW
ANNA LYNN DEFFEBACH                             sekulow@aclj.org
DOJ-Civ                                         JORDAN A. SEKULOW
Civil Division,                                 jordansekulow@aclj.org
Federal Programs Branch                         STUART J. ROTH
anna.l.deffebach@usdoj.gov                      Stuartroth1@gmail.com
                                                OLIVIA F. SUMMERS
CHRISTOPHER A. EISWERTH                         osummers@aclj.org
DOJ-Civ                                         LAURA B. HERNANDEZ
Federal Programs Branch                         lhernandez@aclj.org
christopher.a.eiswerth@usdoj.gov
                                                Attorneys for Amicus Curiae
EMILY NESTLER DOJ-Civ                           American Center for Law & Justice
emily.b.nestler@usdoj.gov

Attorneys for Plaintiff United States of
America




                                              17
       Case 1:22-cv-00329-BLW Document 97-1 Filed 09/07/22 Page 23 of 23




LAURA ETLINGER                                  WENDY OLSON
New York State Office                           Stoel Rives LLP
of the Attorney General                         wendy.olson@stoel.com
laura.Etlinger@ag.ny.gov
                                                JACOB M. ROTH
Attorney for Amici States                       AMANDA K. RICE
California, New York, Colorado, Connecticut,    Jones Day
Delaware, Hawaii, Illinois, Maine, Maryland,    jroth@jonesday.com
Massachusetts, Michigan, Minnesota,             arice@jonesday.com
Nevada, New Jersey, New Mexico, North
Carolina, Oregon, Pennsylvania, Rhode           Attorneys for Amici Curiae
Island, Washington, and Washington, D.C.        The American Hospital Association and the
                                                Association of American Medical Colleges

                                                SHANNON ROSE SELDEN
                                                Debevoise & Plimpton LLP
                                                srselden@debevoise.com

                                                ADAM B. AUKLAND-PECK
                                                Debevoise & Plimpton LLP
                                                Aaukland-peck@debevoise.com

                                                LEAH S. MARTIN
                                                Debevoise & Plimpton LLP
                                                lmartin@debevoise.com

                                                Attorneys for Amici Curiae American College
                                                of Emergency Physicians, Idaho Chapter of
                                                the American College of Emergency
                                                Physicians, American college of Obstetricians
                                                and Gynecologists, Society for Maternal-Fetal
                                                Medicine, National Medical Association,
                                                National Hispanic Medical Association,
                                                American Academy of Pediatrics, American
                                                Academy of Family Physicians, American
                                                Public Health Association, and American
                                                Medical Association

     I FURTHER CERTIFY that on such date I served the foregoing on the following non-
CM/ECF Registered Participant via email:

       CHARLOTTE H. TAYLOR
       Jones Day
       ctaylor@jonesday.com
                                            /s/ Daniel W. Bower
                                           Daniel W. Bower

                                               18
